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                     EXHIBIT 7
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                                                                                   1




10:01AM    1                       UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA
           2

           3     ***************************************************************


           4    IN RE: OIL SPILL BY THE
                OIL RIG DEEPWATER HORIZON
           5    IN THE GULF OF MEXICO ON
                APRIL 20, 2010
           6                                 CIVIL ACTION NO. 10-MD-2179 "J"
                                             NEW ORLEANS, LOUISIANA
           7                                 MONDAY, JULY 29, 2013, 10:00 A.M.

           8    THIS RELATES TO ALL CASES

           9    ***************************************************************


          10
                             SWORN STATEMENT OF CHRISTINE REITANO
          11               TAKEN BEFORE THE HONORABLE LOUIS J. FREER
                                        SPECIAL MASTER
          12

          13    APPEARANCES:

          14                                 LOUIS J. FREER, SPECIAL MASTER
                                             STEVE TIDWELL
          15                                 MICHAEL MCCALL

          16
                                             MARY OLIVE PIERSON
          17                                 ATTORNEY AT LAW
                                             POST OFFICE BOX 14647
          18                                 BATON ROUGE LA 70809
                                             (ATTORNEY FOR CHRISTINE REITANO)
          19

          20
                OFFICIAL COURT REPORTER: CATHY PEPPER, CRR, RMR, CCR
          21                              CERTIFIED REALTIME REPORTER
                                          REGISTERED MERIT REPORTER
          22                              500 POYDRAS STREET, ROOM HB406
                                          NEW ORLEANS, LA 70130
          23                              (504) 589-7779
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          24
                PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY. TRANSCRIPT
          25    PRODUCED BY COMPUTER.


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                                                                  SM-03-GL00706
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                                                                                   105




12:52PM    1    A.      In the settlement program?

12:52PM    2    Q.      Settlement program.

12;52PM    3    A.      Well, no, I didn't know -- I assumed he was going to

12:52PM    9    file -- like everyone was going to take their GCCF claims and

12:52PM    5    transition them over to the settlement program. I knew he had

12:52PM    6    GCCF claimants.

12:52PM    7    0.      Did you know at that point that he was involved in the

12:52PM    8    GCCF process in terms of a lawyer representing claimants?

12:52PM    9    A.      Yes.

12:52PM 10      Q.      And was that one of the reasons that you sent Mr. Thonn

12:53PM   11    there?

12:53PM   12    A.      Yes?

12:53PM   13    Q.      Were there any other reasons?

12:53PM   14    A.      No.

12;53PM   15    Q.      Did you believe at that point that if Mr. Thonn's claim

12:53PM 1 6     was paid, your husband would get some derivative financial

12:53PM   17    interest?

12:53PM   18    A.      No. I did not believe that or have any expectation of

12:53PM   19    that.

12:53PM   20    Q.      Do you recall being interview by Mr. Juneau and others on

12:53PM 21      June 20, 2013?

12:53PM   22    A.      Yes. June 20, 2013, yes.

12:53PM   23    Q.      And that was at Gravier Street?

12:53PM   24    A.      Yes.

12:53PM   25    Q.      And Michael Juneau, Patrick Juneau, and Dave Welker was


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                                                                 SM-03-GL0081
